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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                 Plaintiff,

v.                                                                  Case No. 18-20025-02-DDC

ALBERT BROWN (02),

            Defendant.
____________________________________


                                   MEMORANDUM AND ORDER

        Defendant Albert Brown filed two pro se1 motions. The court liberally construes the first

motion as a Motion to Appoint Counsel (Doc. 296), and the second as a Motion for Modification

of Sentence under 18 U.S.C. § 3582(c)(1)(A) (Doc. 308). As explained below, the court denies

the request to appoint counsel, and dismisses the motion seeking relief under § 3582(c)(1)(A) for

lack of subject matter jurisdiction.

        The court begins by considering Mr. Brown’s request for appointed counsel.

        I.       Motion to Appoint Counsel (Doc. 296)

                 a. Legal Standard

        Our Constitution’s Sixth Amendment provides that in “all criminal prosecutions, the

accused shall enjoy the right . . . to have the assistance of counsel for his defense.” U.S. Const.

amend. VI. This language “requires federal courts to appoint lawyers for indigent defendants in

felony cases.” United States v. Hopkins, 920 F.3d 690, 700 n.16 (10th Cir. 2019) (first citing

Johnson v. Zerbst, 304 U.S. 458, 462–63 (1938); then citing Alabama v. Shelton, 535 U.S. 654,


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        “[P]risoners who proceed pro se . . . are entitled to liberal construction of their filings[.]” Toevs v.
Reid, 685 F.3d 903, 911 (10th Cir. 2012); see also Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991).
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661 (2002)). But, the Supreme Court has explained, “the right to appointed counsel extends to

the first appeal of right, and no further.” Pennsylvania v. Finley, 481 U.S. 551, 555 (1987); see

also Coronado v. Ward, 517 F.3d 1212, 1218 (10th Cir. 2008) (noting that there is “no

constitutional right to counsel beyond the direct appeal of a criminal conviction”); United States

v. Campos, 630 F. App’x 813, 816 (10th Cir. 2015) (“No right to counsel extends to a [18

U.S.C.] § 3582(c)(2) motion.”). And yet, the Criminal Justice Act authorizes the court to appoint

counsel “for any financially eligible person” seeking post-conviction relief under 28 U.S.C. §§

2241, 2254, or 2255 if “the interests of justice so require[.]” 18 U.S.C. § 3006A(a)(2)(B). For

post-conviction relief under 18 U.S.C. § 3582(c)(1)(A), our court arranges appointment of

counsel for certain defendants who have filed motions under that provision. Chief Judge

Robinson has explained:

       Under Standing Order 19-1, the Federal Public Defender (“FPD”) was appointed
       to represent indigent defendants who may qualify to seek compassionate release
       under section 603(b) of the First Step Act. That Order was supplemented by
       Administrative Order 20-8, which established procedures to address motions
       brought on grounds related to the COVID-19 pandemic. Under that Order, the FPD
       shall notify the court within fifteen days of any pro se individual filing a
       compassionate release motion whether it intends to enter an appearance on behalf
       of the defendant, or whether it seeks additional time to make such determination.

United States v. Velazquez, No. 16-20114-JAR-4, 2020 WL 7122429, at *1 (D. Kan. Dec. 4,

2020) (emphasis added). So, under the current Standing Orders, filing a pro se motion for

compassionate release gives the Federal Public Defender an opportunity to enter an appearance

on the pro se movant’s behalf. See id.

               b. Discussion

       Mr. Brown asks the court to appoint him counsel. Doc. 296 at 1. The court considers the

request for counsel along with his pending motion under § 3582(c)(1)(A) (Doc. 308). Mr.

Brown’s request for counsel suffers from several limitations. First, the relevant factors do not

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warrant appointing counsel. When exercising its “broad discretion” to decide whether to appoint

counsel to an indigent litigant, the district court “should consider a variety of factors, including

the merits of the litigant’s claims, the nature of the factual issues raised in the claims, the

litigant’s ability to present his claims, and the complexity of the legal issues raised by the

claims.” Williams v. Meese, 926 F.2d 994, 996 (10th Cir. 1991). Given (1) Mr. Brown’s ability

to present his § 3582(c) claim, (2) the merits of that claim, (3) the straightforward nature of its

factual issues, (4) the complexity of its legal issues, and (5) the lack of evidence showing

indigency, the court concludes that the circumstances here do not warrant appointing counsel.

        Second, the court already has enabled the Federal Public Defender to enter an appearance

on Mr. Brown’s behalf. See D. Kan. S.O. 2020-8. On May 10, 2021, the Federal Public

Defender’s office notified the court that it had reviewed Mr. Brown’s § 3582(c) motion (Doc.

308) and had decided against entering an appearance on his behalf.

        The court denies Mr. Brown’s request for counsel. Next, the court considers the motion

to modify his sentence based on extraordinary and compelling circumstances.

        II.     Motion Under 18 U.S.C. § 3582(c)(1)(A) (Doc. 308)

        Mr. Brown filed a motion for relief under 18 U.S.C. § 3582(c)(1)(A) (Doc. 308). The

court issued a Notice and Order to Show Cause, directing Mr. Brown to supply the court with

additional information about (1) whether he satisfied the statute’s requirement of exhaustion or

lapse, and (2) his COVID-19 vaccination status. See Doc. 311 at 2. Mr. Brown timely

responded, providing the requested information. See Doc. 320. The government then filed a

Response (Doc. 331). Mr. Brown has filed no Reply, and the time to do so has expired. See D.

Kan. Rule 6.1(d). The request now is ripe for ruling.




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               a. Legal Standard

       The court may modify a term of imprisonment “upon motion of the defendant after the

defendant has fully exhausted all administrative rights to appeal a failure of the Bureau of

Prisons to bring a motion on the defendant’s behalf or the lapse of 30 days from the receipt of

such a request by the warden of the defendant’s facility, whichever is earlier[.]” 18 U.S.C. §

3582(c)(1)(A); see also United States v. Maumau, 993 F.3d 821, 830–31 (10th Cir. 2021)

(reviewing § 3582(c)(1)’s history, text, and requirements). The court may grant a motion for

reduction of sentence only if “(1) the district court finds that extraordinary and compelling

reasons warrant such a reduction; (2) the district court finds that such a reduction is consistent

with applicable policy statements issued by the Sentencing Commission; and (3) the district

court considers the factors set forth in § 3553(a), to the extent that they are applicable.” United

States v. McGee, 992 F.3d 1035, 1042 (10th Cir. 2021).

       Our Circuit reads § 3582(c) to impose a jurisdictional requirement. “‘Unless the basis for

resentencing falls within one of the specific categories authorized by section 3582(c), the district

court lack[s] jurisdiction to consider [the defendant’s] request.’” United States v. Poutre, 834 F.

App’x 473, 474 (10th Cir. 2021) (quoting United States v. Brown, 556 F.3d 1108, 1113 (10th

Cir. 2009)). The court now applies this standard to Mr. Brown’s motion.

               b. Discussion

                        i. Whether Mr. Brown Shows Exhaustion or Lapse

       The court previously explained that Mr. Brown shows that he meets § 3582(c)(1)(A)’s

requirement of exhaustion or lapse. See Doc. 322 at 1 (concluding “Mr. Brown asserts that he

shows lapse . . . because the warden failed to respond to his request for relief under §




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3582(c)(1)(A) within 30 days”). The court thus asks whether he shows “extraordinary and

compelling reasons” exist. 18 U.S.C. § 3582(c)(1)(A)(i).

                      ii. Whether Mr. Brown Shows an Extraordinary and Compelling
                          Reason

       Mr. Brown asserts that his obesity and incarceration at FCI Yazoo City during the

COVID-19 pandemic constitute an extraordinary and compelling reason under § 3582(c)(1)(A).

See Doc. 308 at 6–10. The government shares that view. Doc. 331 at 15. And so does the court.

Mr. Brown asserts a medical condition—severe obesity—that the CDC explains can increase risk

of severe illness from COVID-19. CDC, COVID-19: People with Certain Medical Conditions

(updated May 13, 2021), https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-with-medical-conditions.html (last visited July 21, 2021). So, the court

considers whether this reason, given § 3553(a), warrants the modification Mr. Brown requests.

                     iii. Whether § 3553(a)’s Sentencing Factors Support the Sentence
                          Modification Mr. Brown Requests

       If a proposed modified sentence strays too far from the original sentence, the § 3553(a)

factors cannot support the sentence reduction, even where a defendant faces extraordinary and

compelling circumstances. See United States v. Pope, No. 16-10039-JTM, 2020 WL 5704270, at

*1 (D. Kan. Sept. 24, 2020) (“This court has concluded that compassionate release based on

COVID-19 related concerns should be denied where the resulting sentence would materially

depart from an appropriate § 3553(a) sentence[.]”); United States v. Kaufman, No. 04-40141-1-

JTM, 2020 WL 4196467 at *2 (D. Kan. July 21, 2020) (“Even when an older inmate faces some

serious medical condition, compassionate release should be denied if it would radically alter the

appropriate § 3553 sentence.”).




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        Here, Mr. Brown asks the court to modify his sentence by reducing it to time served and

adding a corresponding period of home confinement to the terms of his supervised release. See

Doc. 308 at 4–5, 10, 12. The government asserts that a substantial portion of Mr. Brown’s

sentence remains, and that a time served sentence he requests would fail to reflect § 3553(a)’s

sentencing factors. The court sentenced Mr. Brown to 92 months’ imprisonment. Doc. 239 at 2.

Today, his projected release date is roughly 39 months away. See Albert Brown, Reg. No.

29193-031, https://www.bop.gov/inmateloc/ (last visited July 21, 2021). This remainder

represents 42% of his original sentence. Where the court previously has granted relief under §

3582(c)(1)(A) during the COVID-19 pandemic, defendants sought sentence modifications far

less substantial.2 And the court has held that a defendant’s extraordinary and compelling

circumstances, in light of § 3553(a), did not warrant relief far more modest than Mr. Brown’s

request.3

        To grant Mr. Brown’s motion would reduce significantly his sentence’s severity.

Replacing imprisonment with a corresponding period of home confinement can mitigate the

extent that the sentence modification reduces the severity of the total sentence. See Johnson,

2020 WL 5981676, at *6. But home confinement and imprisonment are not exact equivalents.

Here, home confinement would replace about 42% of the imprisonment term. Only a substantial

shift in the court’s analysis of the relevant § 3553(a) factors could justify that outcome.


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        See, e.g., United States v. Edwards, No. 17-40093-01-DDC, 2020 WL 7263880, at *3 (D. Kan.
Dec. 10, 2020) (granting § 3582(c)(1)(A) motion where roughly 5% of term of imprisonment remained
and defendant already had transferred to a residential reentry center); United States v. Johnson, No. 15-
40064-01-DDC, 2020 WL 5981676, at *6 (D. Kan. Oct. 8, 2020) (granting § 3582(c)(1)(A) motion where
roughly 12% of term of imprisonment remained).
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         See, e.g., United States v. Wuellner, No. 13-20031-01-DDC, 2021 WL 51024, at *2–3 (D. Kan.
Jan. 6, 2021) (holding defendant’s incarceration and health conditions during COVID-19 pandemic,
though “extraordinary and compelling,” were not sufficient given the § 3553(a) factors to warrant
replacing the remaining 9% of defendant’s term of imprisonment with home confinement).

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       Here, the circumstances do not produce a shift substantial enough to support Mr. Brown’s

sentence modification request. After Mr. Brown pleaded guilty to Conspiracy to Distribute and

Possess with Intent to Distribute More than 100 Grams of Heroin, the court sentenced him to 92

months’ imprisonment, Doc. 239 at 1–2, as the plea agreement proposed, Doc. 139 at 3. The

court’s analysis of certain § 3553(a) factors has shifted since Mr. Brown’s sentencing. Under §

3553(a)(1), the court acknowledges that Mr. Brown’s health conditions and the risks he faces as

a federal inmate during the COVID-19 pandemic support a lesser sentence than when the court

sentenced him. Moreover, Mr. Brown explains his efforts to educate himself and develop

personal and professional skills to prepare himself for success upon release. See Doc. 308 at 7–

8. Mr. Brown’s accomplishments, goals, and commitment to acquiring education are

commendable. But the court must weigh this new information against other facts relevant to the

court’s analysis of the sentencing factors.

       Several significant factors that supported Mr. Brown’s original sentence continue to

support a term of imprisonment longer than the time-served sentence he now seeks. See, e.g., 18

U.S.C. § 3553(a)(1)–(2) (including “the nature and circumstances of the offense” and the need

for the sentence imposed “to reflect the seriousness of the offense, to promote respect for the

law, and to provide just punishment for the offense”). The court’s aggregate analysis of the

sentencing factors hasn’t changed enough since sentencing Mr. Brown to render appropriate the

substantial sentence modification Mr. Brown requests. The circumstances thus do not warrant

relief under § 3582(c)(1). And our Circuit’s cases “require the movant to show that § 3582(c)

authorizes relief for the court to have jurisdiction.” Poutre, 834 F. App’x at 473 (first citing

United States v. White, 765 F.3d at 1250; then citing United States v. C.D., 848 F.3d 1286, 1291




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(10th Cir. 2017)). So, the court lacks subject matter jurisdiction to consider the motion. The

court must dismiss the motion.

       III.    Conclusion

       Mr. Brown filed a request for counsel to file a claim under § 3582(c)(1)(A), and a motion

under § 3582(c)(1)(A). No right to counsel to pursue § 3582(c)(1)(A) claims exists. Courts may

appoint counsel on a discretionary basis. But, the court declines to do so here. The court denies

the Motion to Appoint Counsel (Doc. 296).

       Mr. Brown also filed a motion under § 3582(c)(1)(A). But he fails to show that, given

the sentencing factors under § 3553(a), extraordinary and compelling reasons warrant the

substantial sentence modification he requests. The court thus lacks subject matter jurisdiction

over his request and dismisses the motion (Doc. 308) on that basis.

       IT IS THEREFORE ORDERED BY THE COURT THAT Albert Brown’s Motion to

Appoint Counsel (Doc. 296) is denied.

       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Brown’s motion

under 18 U.S.C. § 3582(c)(1)(A) (Doc. 308) is dismissed for lack of subject matter jurisdiction.

       IT IS SO ORDERED.

       Dated this 21st day of July, 2021, at Kansas City, Kansas.

                                                     s/ Daniel D. Crabtree
                                                     Daniel D. Crabtree
                                                     United States District Judge




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